Exhibit 2
                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

VICTORIA EVANOFF, as Administrator of                 : CIVIL ACTION
the ESTATE OF JOHN EVANOFF,                           :
DECEASED                                              : No. 5:23-cv-03417-JFL
                    Plaintiff,                        :
                                                      :
    vs.                                               :
                                                      :
MARSH USA, LLC,                                       :
                                                      :
THERESE PERRETTE, and                                 :
                                                      :
JOHN DOE DEFENDANTS # 1-2                             :
                                                 :
                         Defendants.              :

  PLAINTIFF’S RESPONSES TO DEFENDANTS MARSH USA, LLC AND THERESE
               PERRETTE’S FIRST SET OF INTERROGATORIES

       Pursuant to Federal Rule of Civil Procedure 33, Plaintiff, Victoria Evanoff, as Administrator

of the Estate of John Evanoff, Deceased, by and through undersigned counsel, submits the following

Responses to Defendants, Marsh USA, LLC and Therese Perrette’s (collectively “Marsh

Defendants”) First Set of Interrogatories directed to Plaintiff. Plaintiff reserves the right to

supplement these responses, as discovery is ongoing.

                                     INTERROGATORIES

         1.      Identify all persons with knowledge or information concerning the subject matter
of the Complaint and/or the Smelter Incident, including each person’s (a) name, (b) address, (c)
job title or description, and (d) the substance of his or her knowledge or information.

       RESPONSE:

           1. Plaintiff, Victoria Evanoff
              Plaintiff can be reached through undersigned counsel.

               Plaintiff has knowledge and information regarding the damages in this case.

           2. Defendant, Therese Perrette
              Defendant, Therese Perrette can be reached through defense counsel.
   Upon information and belief, Defendant, Therese Perrette has knowledge
   about the 2019 Gap Assessment performed at East Penn Manufacturing
   Company, Inc. (“East Penn”).

3. Komilla Bhatty
   Upon information and belief, Komilla Bhatty can be reached through defense
   counsel.

   Upon information and belief, Komilla Bhatty has knowledge about the 2019
   Gap Assessment performed at East Penn.

4. Steven Hladczuk
   Upon information and belief, Steven Hladczuk can be reached through
   defense counsel.

   Upon information and belief, Steven Hladczuk has knowledge about the 2019
   Gap Assessment performed at East Penn.

5. Richard Kennedy
   Upon information and belief, Richard Kennedy can be reached through
   defense counsel.

   Upon information and belief, Richard Kennedy has knowledge about the 2019
   Gap Assessment performed at East Penn.

6. Brian Birckbichler
   East Penn
   102 Deka Road,
   Lyon Station, PA 19536
   (610) 682-6361
   Upon information and belief, Brian Birckbichler has knowledge about the
   2019 Gap Assessment performed at East Penn and the incident of March 2021
   giving rise to the Complaint.

7. Troy Greiss
   East Penn
   102 Deka Road,
   Lyon Station, PA 19536
   (610) 682-6361

   Upon information and belief, Troy Greiss has knowledge about the 2019 Gap
   Assessment performed at East Penn and the incident of March 2021 giving rise
   to the Complaint.




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       Plaintiff anticipates that additional individuals with knowledge supporting her claims
will be identified as discovery progresses. Plaintiff reserves the right to supplement this
response, as discovery is ongoing.

       2.    Set forth and describe in detail, without reference to the Complaint, all facts
supporting Your claim for negligence against the Marsh Defendants.

        RESPONSE: In October 2018, East Penn hired Defendant Marsh USA (“Marsh”) to
“help address East Penn Manufacturing’s desire to identify systemically address identified
gaps in its current loss prevention management system, evaluate the effect of those gaps on the
organization’s loss prevention and risk management culture, and recommend systems to
assure that improvements are sustained.” This assessment was performed at East Penn’s Lyon
Station, PA facilities, where Decedent worked at the time of his death. The assessment
purported to “review and provide an analysis of key loss prevention functions at East Penn
Manufacturing, including staffing, training, and written programs.” Of particular note, this
assessment would analyze East Penn’s “[s]afety, ergonomics and prevent.” In addition to
performing site visits, Marsh planned to review existing policies, procedures, and protocols, as
well as loss runs, OSHA logs, and employee survey results. It is Plaintiff’s position that Marsh
performed this assessment negligently, missing glaring safety violations that would have
prevented Decedent’s death. Plaintiff reserves the right to supplement this response, as
discovery is ongoing.

        3.      Set forth and describe in detail, without reference to the Complaint, all facts
supporting Your allegation in the Complaint that Marsh USA “was hired by East Penn in 2018 to
inspect its premises to assess risks, identify any safety hazards or issues, and provide safety
information to East Penn to comply with all requisite governmental and other safety standards to
ensure the safety of East Penn’s employees in the performance of their job duties, as well as the
safety of any licensee or invitee visiting East Penn’s premises.”

       RESPONSE: See response to Interrogatory 2.

        4.      Set forth and describe in detail, without reference to the Complaint, all facts
supporting Your allegations in the Complaint that the Marsh Defendants had a duty to inspect the
smelter plant and/or smelter kettles where the Smelter Incident occurred for fall risk, fall hazards,
or other safety hazards, including (a) the source of the duty, (b) whether the duty arose pursuant to
a contract or agreement, (b) the specific contract or agreement or other source establishing the duty,
and (c) the specific terms of the contract or agreement or other source establishing such a duty.

       RESPONSE: See response to Interrogatory 2.




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       5.      Set forth and describe in detail, without reference to the Complaint, all damages
You are seeking to recover against the Marsh Defendants in the Lawsuit, including (a) all
categories of damages You are seeking to recover against the Marsh Defendants and (b) the dollar
amount You are seeking to recover for each category of damages.

        RESPONSE: Plaintiff is seeking compensatory damages against the Marsh Defendants
for their negligent conduct. Plaintiff is endeavoring to calculate the dollar amount of damages
sought and reserves the right to supplement this response with additional information.

        6.      As to each proposed expert witness who may testify on Your behalf at trial, set
forth in detail (a) the individual’s name, address, professional qualifications and educational
background; (b) the subject matter about which the individual is expected to testify; (c) the
substance of the facts and opinions to which the individual is expected to testify; (d) a summary
of the grounds for any opinion to which the individual is expected to testify; (e) attach a true and
correct copy of each written report rendered by any proposed expert witnesses; and (f) set forth
the content of any oral report rendered by any proposed expert witnesses.

        RESPONSE: Pursuant to this Court’s November 9, 2023 order, Plaintiff will disclose
to Defendants the identities and curriculum vitae of any expert witnesses she intends to use at
trial on or before December 8, 2023 and the expert report pursuant to Federal Rule of Civil
Procedure 26(a)(2)(B) by January 8, 2024.

        7.      As to each proposed expert witness whom You have consulted but do not intend to
have testify at trial, set forth in detail (a) the individual’s name, address, professional
qualifications, and education background; (b) the subject matter regarding which the individual
was consulted; (c) the substance of the facts identified and opinion(s) expressed by the individual;
(d) a summary of the grounds for any opinion(s) expressed by the individual; (e) attach hereto a
true and correct copy of each written expert report rendered by the individual; and (f) set forth the
content of any oral report rendered by the individual.

        RESPONSE: Pursuant to this Court’s November 9, 2023 order, Plaintiff will disclose
to Defendants the identities and curriculum vitae of any expert witnesses she intends to use at
trial on or before December 8, 2023 and the expert report pursuant to Federal Rule of Civil
Procedure 26(a)(2)(B) by January 8, 2024.

        8.      Identify and describe in detail all civil, criminal, and/or other legal actions to which
You were named as a party in the past ten (10) years, including (a) the date each action was
commenced and resolved (if applicable), (b) the jurisdiction, court, and docket number for each
case, (c) the name of all parties, and (d) the claimed relief.

        RESPONSE: Plaintiff has not been named a party in any civil, criminal, and/or other
legal action in the past ten (10) years.




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Dated: November 14, 2023   ANAPOL WEISS

                           /s/ Gabrielle I. Weiss
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                           Gabrielle I. Weiss (PA# 325890)
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                           Attorneys for Plaintiff




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                                 CERTIFICATE OF SERVICE

        I, Gabrielle I. Weiss, hereby certify that, on the date below, a true and correct copy of the

Foregoing Responses to Defendants’ First Set of Interrogatories directed to Plaintiff was served

upon all counsel of record via email.




                                                     /s/ Gabrielle I. Weiss
                                                     Gabrielle I. Weiss, Esq.
Dated: November 14, 2023
